       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Choon Poong Lee
       v. Commonwealth of Virginia
       Record No. 1897-16-4
       Opinion rendered by Senior Judge Haley on
        December 19, 2017

    2. Matthew John Stickle
       v. Commonwealth of Virginia
       Record No. 0660-16-1
       Opinion rendered by Judge Humphreys on
        December 27, 2017

    3. Miguel Antonio Reyes
       v. Commonwealth of Virginia
       Record No. 2108-16-4
       Opinion rendered by Judge Beales on
        January 9, 2018

    4. Terrance Kevin Hall
       v. Commonwealth of Virginia
       Record No. 0481-17-3
       Opinion rendered by Judge AtLee on
        January 9, 2018

    5. Laurence Maria Smith, s/k/a
        Laurence Marie Smith
       v. Commonwealth of Virginia
       Record No. 1058-16-2
       Opinion rendered by Judge Beales on
        January 16, 2018
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Nathan Osburn
   v. Virginia Department of Alcoholic Beverage Control
   Record No. 0038-16-3
   Opinion rendered by Judge Humphreys
    on November 15, 2016
   Judgment of Court of Appeals upholding hearing officer’s determination
     affirmed; opinion of this Court vacated by opinion rendered on
     February 22, 2018 (16177)

2. Jack Eugene Turner
    v. Commonwealth of Virginia
   Record No. 2039-15-3
    Opinion rendered by Judge Humphreys
     on November 22, 2016
    Judgment of Court of Appeals affirmed by opinion rendered on
      March 1, 2018 (161804)

3. Jennifer Broadous
    v. Commonwealth of Virginia
   Record No. 0169-16-1
    Opinion rendered by Judge Humphreys
     on February 7, 2017
    Refused (170324)

4. Rayshawn Torrell Greer
   v. Commonwealth of Virginia
   Record No. 0175-16-1
   Opinion rendered by Judge Beales
     on February 21, 2017
   Dismissed in part pursuant to Rule 5:17(c)(1)(iii) and
    refused in part (170375)

5. Stephen Keith White
   v. Commonwealth of Virginia
   Record No. 1150-16-1
   Opinion rendered by Judge Petty
     on May 2, 2017
    Refused (170729)

6. Freddie Beckham, III
   v. Commonwealth of Virginia
   Record No. 1146-16-2
   Opinion rendered by Chief Judge Huff
     on May 30, 2017
   Refused (170865)
7. Hassan Christopher Atkins
   v. Commonwealth of Virginia
   Record No. 1542-16-2
   Opinion rendered by Judge Decker
    on July 5, 2017
   Refused (171007)

8. Janine Helen Adelman Browning
    v. Larry Grant Browning
   Record No. 2012-16-3
    Opinion rendered by Judge Russell
     on July 25, 2017
    Dismissed pursuant to Code § 17.1-410(A)(3) and (B)
    (171316)

9. Riverside Regional Jail Authority and
    VML Insurance Programs
   v. Morrisa Dugger
   Record No. 0153-17-2
   Opinion rendered by Judge Humphreys
     on July 25, 2017
   Dismissed pursuant to Code § 17.1-410(A)(2) and (B)
   (171324)
